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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                          :
PRODUCTS LIABILITY LITIGATION                         :       MDL No. 2592
                                                      :
                                                      :       SECTION L
THIS DOCUMENT RELATES TO:                             :
                                                      :
Leroy Lasher                                          :
Civil Action No. 2:17-cv-00917                        :       JUDGE ELDON E. FALLON
                                                      :
                                                      :       MAGISTRATE JUDGE NORTH
                                                      :
                                                      :
                                                      :

     DEFENDANTS’ JOINT REPLY TO PLAINTIFF’S RESPONSE TO ORDER
 TO SHOW CAUSE REGARDING PLAINTIFFS WHO HAVE FAILED TO COMPLY
                WITH CASE MANAGEMENT ORDER 12A

       Defendants Janssen Research & Development LLC, Janssen Pharmaceuticals, Inc., Janssen

Ortho LLC, Johnson & Johnson, Bayer HealthCare Pharmaceuticals Inc., and Bayer Pharma AG

(“Defendants”) submit this joint reply to Plaintiff’s response to order to show cause regarding

plaintiffs who have failed to comply with Case Management Order No. 12A (“CMO 12A”) based

on Plaintiff’s counsel’s inability to locate next-of-kin willing to be substituted as an appropriate

successor in interest. (Rec. Doc. 15686).

       The fact remains that the Plaintiff has not complied with the requirements of CMO 12A.

The appropriate remedy is dismissal with prejudice.

       The inability to locate a successor to continue a deceased plaintiff’s case is precisely the

type of situation that CMO 12A was designed to address. According to counsel, Plaintiff’s

daughter does not want to serve as representative or participate in the settlement program. Plaintiff

passed away almost two years ago, on or about October 19, 2017. (Rec. Dec. 14445). This has
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been significantly more than the time allotted by Fed. R. Civ. P. 25 to substitute a proper plaintiff,

and the motion fails to provide any facts which excuse the delay other than to say no successor has

been found who is willing to be substituted as successor in interest. The Court needs to know how

many plaintiffs desire to continue to litigate rather than settle their claims in order to chart the

future course of this litigation. Continued delay without good cause interferes with the Court’s

ability to effectively manage the litigation and prejudices the Defendants and the overwhelming

number of Plaintiffs who have elected to settle.

        Defendants also oppose any request for additional time to comply with CMO 12A. The

plaintiffs in this litigation have already been given additional time to comply. Plaintiff has had

months to complete the enrollment forms or dismiss his case. Compliance with CMO 12A is

relatively simple: an MDL plaintiff must either (a) sign a Notice of Intent to Proceed if the plaintiff

prefers to litigate his/her action rather than participate in the settlement or was not eligible for the

settlement; (b) sign an Enrollment Form evincing participation in the settlement; or (c) authorize

his/her counsel to dismiss the action with prejudice if the plaintiff chooses neither to litigate nor

to participate in the settlement.

        Under Case Management Order No. 12B, Plaintiff has “abandoned [his] claims” by failing

to comply with CMO 12A. CMO 12A provides that “[f]ailure to comply with the terms of this

Order will subject the Plaintiff’s case to dismissal with prejudice pending an Order to Show Cause

Hearing.” Defendants respectfully ask that Plaintiff’s request to be excused be denied. Plaintiff’s

case should be dismissed with prejudice for failure to comply with CMO 12A.




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  Respectfully submitted this the 4th day of October, 2019.

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                                              Dated: October 4, 2019


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                                CERTIFICATE OF SERVICE
        The undersigned hereby certifies that on October 4, 2019, the foregoing pleading was filed
electronically with the Clerk of the Court using the CM/ECF system. Notice of this filing will be
sent to Liaison Counsel for Plaintiffs and Defendants by operation of the Court’s electronic filing
system and served on all other plaintiff counsel via MDL Centrality, which will send notice of
electronic filing in accordance with the procedures established in MDL 2592 pursuant to Pre-Trial
Order No. 17.

                                                      /s/ John F. Olinde




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